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UNITED STATES DISTRICT COURT                     SOUTHERN DISTRICT OF TEXAS



UNITED STATES OF AMERICA                    §
                                            §
                                            §
versus                                      §         CRIMINAL NO. H-11-340-14
                                            §
BERNARD LEE JASHINSKY                       §


                      ORDER RELEASING BOND PAYMENT

      At the request of the defendant, the Court hereby releases the defendant’s bond
payment in the amount of $2,000. The payment is to be distributed as follows:

         1.    $500 to the defendant, Bernard Lee Jashinsky, to pay delinquent state
               probation fees.

         2.    $1,500 to the U.S. District Court, in Cause No. 4:11CR00340-014, to be paid
               toward the Court ordered fine balance.



         SIGNED on April 29, 2013, at Houston, Texas.


                                          ______________________________________
                                                         Lee H. Rosenthal
                                                   United States District Judge




Copy: Sr. U.S. Probation Officer Gwen York
      Sr. U.S. Probation Officer Lane Hargrove
